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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                  \ 3 J'..r\ 2 \
                                                                          \\: \ 1

UNITED STATES OF AMERICA,                  CASE NO. 13CR1664-'-H            )~
                       Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
ALMA HERNANDEZ-GOMEZ (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense(s) as charged in the Indictment:

     21:952 and 960; 18:2



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JUNE 20, 2013                             ~c9--
                                             William V. Gallo
                                             U.S. Magistrate Judge
